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    U.S. Army Corps of Engineers grants Special Use Pe1mit
    to Standing Rock Sioux Tribe                                                    Related Content
                                                                                    Related Link Title 3JJ)[tbLUnited_Stmes
   Posted 9/16/2016                                                                 Code, Section 408
                                                                                    Related Link Title 36 of the Code of federal
   Release no. 20160916"002
                                                                                    Regulations Part 327
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   OMAHA, NE. - Today the U.S. Army Corps of Engineers (Corps) issued a Special Use Permit to the Standing
   Rock Sioux Tribe to use Federal lands managed by the Corps near Lake Oahe.

   Omaha District Commander, Col. John W. Henderson, infonned Standing Rock Sioux Tribal Chairman Dave
   Archambault II, that the Tribe's Spiritual gathering, located south of the Cannonball River, has been granted a
   Special Use Pennit, which allows the Tribe to gather to engage in a lawful free speech demonstration on Federal
   lands designated in the pe1mit.

   The Tribe's Special Use Permit application requested use of lands to the north and south of the mouth of the
   Cannonball River; however, because the northern property is subject to an existing grazing lease, this portion of
   the application is not being acted on at this time.

   The Special Use Permit allows the Tribe to use Federal lands subject to Federal rules and regulations including
   Title 36 of the Code of Federal Regulations Part 327, Iit!c 33 of the United States Code, Section 408, and
   applicable Federal, state and local regulations. Per Title 36, several activities require written permission from the
   District Commander. Additional pennission will be required for activities identified in Title 36 such as
   construction, either temporary or permanent, of any structures within areas identified in the Special Use Pennit.

  "Among our many diverse missions is managing and conserving our natural resources. I want to encourage
  those who are using the permitted area to be good stewards and help us to protect these valuable resources,'' said
  Henderson.

  The purpose for requesting and granting a Special Use Permit under Title 36 is to provide applicants temporaty
  use of federal lands for lawful purposes. In turn, the applicant assumes responsibility for rnainlcnance, damage
  and restoration costs, ensures the health, welfare, safety, supervision, and security of participants and spectators,
  and provides liability insurance. This permit requires that the Standing Rock Sioux Tribe work with its
  supporters to ensure that the land is restored to its previous state so that others may benefit from use in the
  future.

  "Thousands of people have peacefully gathered in prayer and solidarity against the Dakota Access Pipeline,"
  said Dave Archambault II, Chairman of the Standing Rock Sioux Tribe. "We appreciate the cooperation of the
  Corps in protecting the First Amendment rights of all water protectors."

  "The U.S. Army Corps of Engineers has a deep respect for the traditions, culture, and concerns of all Native
  American Tribes, and we are committed to strengthening our enduring partnership with the Standing Rock Sioux
  Tribe," said Henderson.
                                                                                                                          EXHIBIT


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